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                    UNITED STATES DISTRICT COURT
                         Southern District of Texas
                             Houston Division

KIRK BRAGGS                                    §
                                               §      CASE NUMBER:
                                               §
               V.                              §
                                               §
                                               §      DEMAND FOR JURY TRIAL
NATIONAL MANAGEMENT                            §
RECOVERY CORPORATION                           §


                    PLAINTIFF’S FIRST AMENDED COMPLAINT


                                  Preliminary Statement

       1.      Plaintiff, KIRK BRAGGS, (“Plaintiff”) brings this action under the Fair

Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), as well as under the

Texas Debt Collection Act, Tex. Finance Code § 392.001, et seq. ("TDCA") and the Texas

Deceptive Trade Practices Act, Subchapter E, Chapter 17, Business & Commerce Code

(“DTPA”), to obtain statutory damages, injunctive relief, declaratory relief, and other relief

for the Defendant’s violations of the FDCPA, the TDCA and the DTPA.

       2.      Defendant, NATIONAL MANAGEMENT RECOVERY

CORPORATION, herein after referred to as NMRC, attempted to collect a consumer

debt ("Debt") allegedly owed by Plaintiff, arising from a purported obligation on personal

loans. The obligations ("Debt") required Plaintiff to pay money arising out of trans-

actions in which money, property, insurance, or services were the subject thereof and the

same were primarily for personal, family, or household purposes. NMRC can be served

by and through their registered agent Corporation Service Company dba CSC Lawyers
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Incorporating Service Company, located at 211 E. 7th Street, suite 620, Austin, TX

78701-3218.

                                 JURISDICTION AND VENUE

       3.      This is an action under the Fair Debt Collection Practices Act (“FDCPA”),

15 U.S.C. § 1692 et. seq. against Defendant for engaging in unfair or deceptive acts or

practices in violation of the FDCPA, 15 U.S.C. § 1692.

       4.      This Court has subject matter jurisdiction over this matter pursuant to 28

U.S.C. §1331, 1337(a), and 1367.

       5.      Venue is proper in the United States District Court for the Southern District

because the acts and transactions occurred here, and the Defendant transacts business here.

                                     DEFINITIONS

       6.      As used in reference to the FDCPA, the terms “creditor,” “debt,” and “debt

collector” are defined in § 803 of the FDCPA, 15 U.S.C. § 1692a and 15 U.S.C. § 1692j(a)

and (b).

                                     THE PARTIES

       7.      The FDCPA, 15 U.S.C. § 1692, which prohibits certain debt collection

practices, provides for the initiation of court proceedings to enjoin violations of the FDCPA

and to secure such equitable relief as may be appropriate in each case.

       8.      Defendant, NMRC, is a collection agency, a foreign for profit corporation

believed to be based in Florida and is in the business of collecting consumer debt in the

Southern District of Texas. The principal purpose of NMRC’s business is the collection

of consumer debts using the mail and telephone. NMRC regularly attempts to collect

consumer debts for others. NMRC is a "debt collector" as defined by 15 U.S.C. § 1692a(6)

and Tex. Finance Code § 392.001(6). NMRC is also a "third-party debt collector" as

defined by Tex. Finance Code § 392.001(7).
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       9.      Plaintiff, Kirk Braggs, (“Braggs”) is an individual who resides in Harris

County, Texas and is a consumer as defined by 15 U.S.C. §1692(a)(3) and the Tex. Finance

Code § 392.001(1)

                              FACTUAL ALLEGATIONS

      10.      On three different occasions Defendant left voicemails on Plaintiff’s cell

phone. Those calls were made on or about June 13, 2022, June 16, 2022, and September

7, 2022. Each phone call was made someone claiming to be named Hailey or Kayla

Johnson behalf of NMRC and they all pertained to the collection a debt purported to be

owed by Plaintiff to Money Key.

      11.      During the June 13, 2022, voicemail Defendant stated that Plaintiff’s claim

was being filed with Harris County, and once the claim 1140120 was filed with Harris

County, and that once it was filed it would become a matter of public record, and that an

order would be issued for his location. She went on to say that if she could not reach him,

she would contact his employer and speak directly with his supervisor. She went on to say

that once the claim was filed that all legal rights would be forfeited.

      12.      During the June 16, 2022, voicemail, Ms. Johnson stated that she would

move forward with an order of location and that Plaintiff would be located at either his

residence or place of employment and that further action would take place.

      13.      During the September 7, 2022, voice mail. Ms. Johnson stated that since

they had been unable to reach him, they would be moving forward to have him located at

his place of employment. This made Plaintiff very apprehensive about this bill collector

possibly coming to his place of employment.

      14.      Despite Defendant’s claims that they had located Plaintiff’s possible

residences, Defendant never sent any kind of written validation of the alleged debts.
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       15.     Despite threats to take legal action no case has been filed by Defendant

against Plaintiff in any Court in Harris County or anywhere else.

       16.     The foregoing acts and omissions of the Defendant were undertaken by

them willfully, intentionally, knowingly, and/or in gross disregard of the rights of the

Plaintiffs.

        17.    The foregoing acts and omissions of the Defendant were undertaken by

them indiscriminately and persistently, as part of their regular and routine collection

efforts, and without regard to or consideration of the identity or rights of the Plaintiffs.

        18.    As a proximate result of the foregoing acts and omissions of the Defendant,

Plaintiff has suffered actual damages and injury, including but not limited to, stress,

humiliation, mental anguish and suffering, and emotional distress, for which Plaintiff

should be compensated in an amount to be proven at trial.

        19.    All of Defendant’s actions occurred within one year of the date of this

Complaint. Moreover, the actions made by Defendant in his collection attempts are to be

interpreted under the “unsophisticated consumer” standard. (See, Bartlett v. Heibl, 128

F3d. 497, 500 (7th Cir. 1997); Chauncey v. JDR, 118 F.3d 516, 519 (7th Cir. 1997); Avila

v. Rubin, 84 F.3d 222, 226 (7th Cir. 1996); and Gammon v. GC Services, LTD. Partnership,

27 F.3d 1254, 1257 (7th Cir. 1994).

                                  Respondeat Superior Liability

        20.    The acts and omissions of Defendant, and the other debt collectors

employed as agents by Defendant who communicated with Plaintiff as more further

described herein, were committed within the time and space limits and within the sphere

of their respective employments in their agency relationships with their principal, the

Defendant.
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        21.    The acts by Defendant and his agents were incidental to, or of the same

general nature as, the responsibilities these agents were authorized to perform by Defendant

in collecting consumer debts.

        22.    By committing these acts against Plaintiff, these agents of Defendant were

motivated to benefit their principal, the Defendant.

        23.    Defendant is therefore liable to Plaintiff through the Doctrine of Respondeat

Superior for the intentional, reckless, and negligent acts, errors, and omissions done in

violation of state and federal law by his collection employees, including but not limited to

violations of the FDCPA and Texas law, in their attempts to collect this debt from

Plaintiffs.

                                        COUNT I
                                Violations Of The FDCPA


        24.     The Plaintiff repeat, reallege, and incorporate by reference the foregoing

paragraphs. The Defendant’s violations of the FDCPA include, but are not limited to the

following:

                a.      Misrepresenting the nature or status of the debt by saying a case has
                        been or will be filed with Harris County, which violates 15 U.S.C.
                        § 1692e2(A), e2, e5, and e10 amongst others.
                b.      Misrepresenting that once a case is filed with Harris County
                        plaintiff will lose all legal rights, which violates 15 U.S.C. §
                        1692b, e2, e5, and e8 amongst others.
                c.      Threatening to contact 3rd parties, namely coming to the location
                        of Plaintiff’s employer and supervisor, which violates 15 U.S.C. §
                        1692d, e, e2, e3, e5, e10, and f, amongst others.
                d.      Failing to give written validation of debt which violates 15 U.S.C.
                        1692g.

        25.    Under 15 U.S.C. § 1692k, Defendant’s violations of the FDCPA render it

liable to Plaintiff for statutory damages, actual damages, costs, and reasonable attorney's

fees.
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                                        COUNT II
                       Violations of the Texas Debt Collection Act

       26.       The Plaintiff repeat, reallege, and incorporate by reference the foregoing

paragraphs. The Defendant’s violations of the TDCA include, but are not limited to the

following:

                 a.      Misrepresenting the nature or status of the debt by saying a case has
                         been or will be filed with Harris County, which violates Texas
                         Finance Code §392.304(8).
                 b.      Misrepresenting that once a case is filed with Harris County
                         plaintiff will lose all legal rights, which violates Texas Finance
                         Code §392.304(8).
                 c.      Threatening to contact 3rd parties, namely coming to location of
                         Plaintiff’s employer and supervisor, which violates Texas Finance
                         Code 392.301(1)(6)a and (8), amongst others.
       27.     Under Tex. Fin. Code Ann. § 392.403, the Defendant’s violations of the

TDCA render it liable to Plaintiff for statutory damages, injunctive relief, declaratory relief,

costs, and reasonable attorney's fees.


                                      COUNT III
                Violations of the Texas Deceptive Trades Practices Act

       28.       The Plaintiff repeat, reallege, and incorporate by reference the foregoing

paragraphs. The Defendant’s violations of the DTPA include, but are not limited to the

following:

                 a. Pursuant to Tex. Fin. Code Ann. § 392.404, the Defendant’s violations
                    of the TDCA also constitute a deceptive trade practice under Subchapter
                    E, Chapter 17, Business & Commerce Code, (“DTPA”) and is
                    actionable under that subchapter.

       29.     Under Tex. Bus. & Com. Code Ann. § 17.50(b)(2), the Defendant’s violations

of the DTPA render it liable to Plaintiff for injunctive relief and reasonable attorney's fees.
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                                 PRAYER FOR RELIEF

Plaintiff, Kirk Braggs, prays that this Court:

   1. Declare that Defendant’s debt collections practices violated the FDCPA, TDCA

       and the DTPA;

   2. Enjoin the Defendant’s actions which violate the TDCA and the DTPA;

   3. Enter judgment in favor of Plaintiff and against Defendant for statutory damages,

       actual damages, treble damages, costs, and reasonable attorney’s fees as provided

       by 15 U.S.C. § 1692k(a) and/or Tex. Fin. Code Ann. § 392.403;

   4. Grant such further relief as deemed just.




                                                      Respectfully submitted,

                                                  /s/ James A. Foley

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